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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

 RowVaughn Wells,

                        Plaintiff,
           v.                                        Case No. 2:23-CV-02224

 The City of Memphis et al.,

                        Defendants.


      PLAINTIFF’S MOTION FOR LEAVE AND EXTENSION OF TIME TO FILE
         OMNIBUS RESPONSE TO DEFENDANTS’ MOTIONS TO DISMISS

       Plaintiff, through her undersigned counsel, pursuant to Fed. R. Civ. P. 6(b)(1)(A), submits

this motion for leave and extension of time to file an omnibus response to Defendants’ five Motions

to Dismiss Plaintiff’s First Amended Complaint. In support of her motion, Plaintiff states as

follows:

       1.       On January 3, 2025, Plaintiff filed her First Amended Complaint. ECF 277. The

defendants in this case have filed separate and joint motions to dismiss, resulting in the following

response deadlines:

            •   On February 15, Defendant Long filed his Motion to Dismiss. ECF 300. Plaintiff’s

                response is due March 17.

            •   On February 17, Defendant City of Memphis filed its Motion to Dismiss. ECF 303.

                Plaintiff’s response is due March 17.

            •   On February 18, Defendant Whitaker and Defendant Sandridge filed individual

                Motions to Dismiss. ECF 307, 308. Plaintiff’s responses are due March 18.




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            •   On February 20, Defendant Hemphill and Defendant Smith filed a joint Motion to

                Dismiss. ECF 314. Plaintiff’s response is due March 20.

       2.       Given the substantial overlap in the issues raised in Defendants’ five motions to

dismiss, Plaintiff submits that the most efficient and streamlined approach is to consolidate her

arguments into a single omnibus brief addressing all of Defendants’ motions. A single consolidated

response brief will serve the interests of judicial economy and economize the parties’ time.

       3.       Due to the length, complexity, and large number of motions to dismiss that

Plaintiff’s omnibus brief will address, Plaintiff requests that her consolidated brief be due on the

date that the final response is due (March 20). This entails extending the deadline to respond to the

motions that are currently due on March 17-18 by 2-3 days, respectively.

       4.       Plaintiff conferred via e-mail with Defendants regarding the relief requested in this

motion. Defendants Hemphill and DeWayne Smith responded that they have no objection. The

remaining defendants have not responded as of this filing.

       5.       Plaintiff respectfully submits that, for the foregoing reasons, good cause supports

her request to file an omnibus response brief by March 20, 2025.

       WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this Court

enter an order granting Plaintiff leave to file one omnibus response in opposition to Defendants’

motions to dismiss (ECF 300, 303, 307, 308 and 314) on or before March 20, 2025.



Dated: March 17, 2025                         Respectfully submitted,


                                              /s/ Stephen H. Weil
                                              Antonio M. Romanucci* (Ill. Bar No. 6190290)
                                              Sarah Raisch* (Ill. Bar No. 6305374)
                                              Joshua M. Levin* (Ill. Bar No. 6320993)
                                              Stephen H. Weil* (Ill. Bar No. 6291026)

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                               Sam Harton* (Ill. Bar No. 6342112)
                               ROMANUCCI & BLANDIN, LLC
                               321 N. Clark St., Ste. 900
                               Chicago, IL 60654
                               P: (312) 458-1000
                               aromanucci@rblaw.net
                               sraisch@rblaw.net
                               jlevin@rblaw.net
                               sweil@rblaw.net
                               sharton@rblaw.net

                               David L. Mendelson (Tenn. Bar No. 016812)
                               Benjamin Wachtel (Tenn. Bar No. 037986)
                               MENDELSON LAW FIRM
                               799 Estate Place
                               Memphis, TN 38187
                               +1 (901) 763-2500 (ext. 103), Telephone
                               +1 (901) 763-2525, Facsimile
                               dm@mendelsonfirm.com
                               bw@mendelsonfirm.com

                               Brooke Cluse* (Tex. Bar No. 24123034)
                               BEN CRUMP LAW, PLLC
                               717 D Street N.W., Suite 310
                               Washington, D.C. 20004
                               +1 (337) 501-8356 (Cluse), Telephone
                               brooke@bencrump.com

                               Attorneys for Plaintiff

                               * Admission pro hac vice




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                            CERTIFICATE OF CONSULTATION

       Plaintiff conferred via e-mail with Defendants regarding the relief requested in the

foregoing motion. Defendants Hemphill and DeWayne Smith responded that they have no

objection. The remaining defendants have not responded as of this filing.

                                                            s/Stephen H. Weil




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